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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

LAWRENCE CALLAHAM, on behalf of himself,                     COMPLAINT
individually, and on behalf of all others similarly-
situated,                                                    Docket No.:

                        Plaintiff,                           Jury Trial Demanded

         -against-

SETTEMBRE LIMOUSINE SERVICE, INC., and
ANTHONY SETTEMBRE, individually,

                         Defendants.


       LAWRENCE CALLAHAM (“Plaintiff”), on behalf of himself, individually, and on

behalf of all others similarly-situated, (collectively as “FLSA Plaintiffs”), by and through his

attorneys, BORRELLI & ASSOCIATES, P.L.L.C., as and for his Complaint against

SETTEMBRE LIMOUSINE SERVICE, INC. (“Settembre Limo”), and ANTHONY

SETTEMBRE, individually, (collectively as “Defendants”), alleges upon knowledge as to

himself and his own actions and upon information and belief as to all other matters as follows:

                                       NATURE OF CASE

       1.      This is a civil action for damages and equitable relief based upon violations that

Defendants committed of Plaintiff’s rights guaranteed by: (i) the overtime provisions of the Fair

Labor Standards Acts (“FLSA”), 29 U.S.C. § 207(a); (ii) the overtime provisions of the New

York Labor Law (“NYLL”), NYLL § 160, N.Y. Comp. Codes R. & Regs. (“NYCCRR”) tit. 12,

§ 142-2.2; (iii) the NYLL’s requirement that employers distribute all gratuities and/or charges

passed on from customers purporting to be gratuities to their employees, NYLL § 196-d; (iv) the

NYLL’s requirement that employers furnish employees with wage statements containing specific

categories of accurate information on each payday, N.Y. Lab. Law § 195(3); (v) the NYLL’s

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requirement that employers furnish employees with a wage notice at hire containing specific

categories of accurate information, N.Y. Lab. Law § 195(1); and (vi) any other claim(s) that can

be inferred from the facts set forth herein.

       2.      Plaintiff worked for Defendants - - a transportation company and its chief

executive - - as a driver from September 2016 to February 2017.              As described below,

throughout the entirety of his employment, Defendants willfully failed to pay Plaintiff the wages

lawfully due to him under the FLSA and the NYLL. Specifically, Defendants routinely required

Plaintiff to work beyond forty hours in a workweek, but failed to compensate him at the

statutorily-required overtime rate for any hours that he worked in a week in excess of forty.

       3.      Additionally, Defendants violated the NYLL by: failing to distribute gratuities

that Plaintiff received for his services from passengers; failing to provide Plaintiff with proper

wage statements on each payday; and failing to provide Plaintiff with an accurate wage notice at

the time of hire.

       4.      Defendants paid and treated all of their drivers in the same manner.

       5.      Accordingly, Plaintiff brings this lawsuit against Defendants pursuant to the

collective action provisions of the FLSA, 29 U.S.C. § 216(b), on behalf of himself, individually,

and on behalf of all other persons similarly-situated during the applicable FLSA limitations

period who suffered damages as a result of Defendants’ violations of the FLSA. Plaintiff brings

claims under state law on behalf of himself, individually, and on behalf of all FLSA Plaintiffs

who opt-into this action.




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                                  JURISDICTION AND VENUE

        6.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, as this

action arises under 29 U.S.C. § 201, et seq. The supplemental jurisdiction of the Court is

invoked pursuant to 28 U.S.C. § 1367 over all claims arising under New York law.

        7.      Venue is appropriate in this court pursuant to 28 U.S.C. § 1391(b)(1), as one or

more of the Defendants reside within this judicial district and both reside within the same state,

and pursuant to 28 U.S.C. § 1391(b)(2), as a substantial part of the events or omissions giving

rise to the claims for relief occurred within this judicial district.

                                               PARTIES

        8.      At all relevant times herein, Plaintiff worked for Defendants in New York and

was an “employee” entitled to protection as defined by the FLSA, NYLL, and NYCCRR.

        9.      At all relevant times herein, Defendant Settembre Limo is a New York

corporation, with its principal place of business located at 1421 Crompond Road, Peekskill, New

York 10566.

        10.     At all relevant times herein, Defendant Settembre was and is the chief executive

officer and president of Defendant Settembre Limo. Defendant Settembre personally managed

and oversaw the day-to-day operations of Defendant Settembre Limo, and was ultimately

responsible for all matters with respect to determining employees’ rates and methods of pay and

hours worked. Furthermore, Defendant Settembre had and exercised the power to hire and fire

and approve all personnel decisions with respect to Defendant Settembre Limo employees,

including Plaintiff.

        11.     At all relevant times herein, both Defendants were and are “employers” within the

meaning of the FLSA and NYLL. Additionally, Defendant Settembre Limo’s qualifying annual



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business exceeded and exceeds $500,000, and Defendant Settembre Limo is engaged in interstate

commerce within the meaning of the FLSA, as it operates a business shuttling passengers

between airports and across state lines, the combination of which subjects Defendants to the

FLSA’s overtime requirements as an enterprise.          Furthermore, all of Defendant Settembre

Limo’s drivers, including Plaintiff and FLSA Plaintiffs, are required to drive clients across state

lines, engaging in travel throughout New York, New Jersey, Connecticut, and various other

states, as part of their jobs working for Defendants. This independently subjects Defendants to

the overtime requirements of the FLSA with respect to Plaintiff and FLSA Plaintiffs.

                           COLLECTIVE ACTION ALLEGATIONS

       12.       Plaintiff seeks to bring this suit to recover from Defendants unpaid overtime

compensation, and liquidated damages, pursuant to the applicable provisions of the FLSA, 29

U.S.C. § 216(b), individually, on his own behalf, as well as on behalf of those in the following

collective:

                 Current and former drivers, who during the applicable FLSA
                 limitations period, performed any work for Defendants, and who
                 consent to file a claim to recover damages for overtime
                 compensation that is legally due to them (“FLSA Plaintiffs”).

       13.       Defendants treated Plaintiff and all FLSA Plaintiffs similarly in that Plaintiff and

all FLSA Plaintiffs: (1) performed similar tasks, as described in the “Background Facts” section

below; (2) were subject to the same laws and regulations; (3) were paid in the same or similar

manner; (4) were required to work in excess of forty hours in a workweek; and (5) were not paid

the required one and one-half times their respective regular rates of pay for all hours worked per

workweek in excess of forty.

       14.       At all relevant times, Defendants are and have been aware of the requirements to

pay Plaintiff and all FLSA Plaintiffs at an amount equal to the rate of one and one-half times

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their respective regular rates of pay for all hours worked each workweek above forty, yet they

purposefully and willfully chose and choose not to do so.

        15.     Thus, all FLSA Plaintiffs are victims of Defendants’ pervasive practice of

willfully refusing to pay their employees overtime compensation for all hours worked per

workweek above forty, in violation of the FLSA.

                                    BACKGROUND FACTS

        16.     Defendant Settembre Limo is a New York-based transportation company, which

shuttles passengers to and from Westchester Airport, Newark Liberty International Airport,

LaGuardia Airport, and John F. Kennedy International Airport, and also provides transportation

services between other non-airport destinations in various states, including New York, New

Jersey, and Connecticut.

        17.     In September 2016, Defendant Settembre, on behalf of Defendant Settembre

Limo, hired Plaintiff as a driver. Plaintiff commenced his employment with Defendants in that

role at that time.

        18.     As a driver, Plaintiff’s primary duties consisted of driving Defendants’ clients in

town cars with a maximum capacity of five passengers, and luxury four-door sedans also with a

maximum capacity of five passengers, from and to various destinations throughout New York,

Connecticut, and New Jersey, and occasionally other locations.          Primarily, Plaintiff drove

Defendants’ clients between airport and non-airport locations, and also on fixed routes that

Defendants assigned. Plaintiff also drove Defendants’ clients in buses and stretch limousines

when Defendants required him to do so.

        19.     Throughout his employment, Defendants required Plaintiff to work five days per

week, starting his workday sometimes as early as 4:15 a.m. and working sometimes until 3:30



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a.m. the following day, without permitting Plaintiff to take scheduled or uninterrupted breaks.

By approximation, throughout his employment, Defendants required Plaintiff to work, and

Plaintiff did routinely work, approximately sixty-eight hours each week.

       20.    By way of example only, during the week of October 7 through October 13, 2016,

Defendants required Plaintiff to work, and Plaintiff did work, the following schedule, without

scheduled or uninterrupted breaks:

              Friday, October 7, 2016: 8:00 a.m. until 12:30 a.m. the following day.

              Saturday, October 8, 2016: 11:30 a.m. until 3:30 a.m. the following day.

              Sunday, October 9, 2016: 3:30 p.m. until 1:30 a.m. the following day.

              Monday, October 10, 2016: Off

              Tuesday, October 11, 2016: 4:15 a.m. until 6:15 p.m.

              Wednesday, October 12, 2016: Off

              Thursday October 13, 2016: 9:00 a.m. until 8:30 p.m.

Thus, adding up the hours for this representative workweek, Plaintiff worked sixty-eight hours.

       21.    As a second example, during the week of November 4 through November 10,

2016, Defendants required Plaintiff to work, and Plaintiff did work, the following schedule,

again without scheduled or uninterrupted breaks:

              Friday, November 4, 2016: 11:30 a.m. until 9:30 p.m.

              Saturday, November 5, 2016: 5:00 a.m. until 7:00 p.m.

              Sunday, November 6, 2016: 5:00 a.m. until 7:00 p.m.

              Monday, November 7, 2016: 4:30 a.m. until 11:00 p.m.

              Tuesday, November 8, 2016: Off

              Wednesday, November 9, 2017: 4:00 a.m. until 3:30 p.m.



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                Thursday, November 10, 2016: Off

Thus, adding up the hours for this representative workweek, Plaintiff worked sixty-eight hours.

        22.     For each workweek that Plaintiff worked, Defendants paid Plaintiff a varying rate

based on the assignments given and their duration, but failed to pay Plaintiff at any rate

whatsoever for the hours that Plaintiff worked each week beyond forty. Defendants determined

the rate that they paid Plaintiff based upon the vehicle that Plaintiff drove and the number of

hours that Plaintiff reported for each trip.

        23.     Additionally, Defendants permitted Plaintiff to keep tips received in cash from

passengers, if passengers did in fact give him cash. Defendants, however, failed to provide

Plaintiff with any tips that passengers paid directly to Defendants by credit card.

        24.     By way of example only, for the weekly pay period of October 7 through October

13, 2016, when Plaintiff worked a total of sixty-eight hours, Defendants paid Plaintiff $600.00

based on the twelve jobs that he performed that week, and Plaintiff received approximately

$200.00 in cash tips from passengers. Accordingly, Defendants paid Plaintiff a total of $800,

which was meant to cover only his first forty hours of work per week, and which amounts to a

regular rate of $20.00. Defendants did not pay Plaintiff at any rate, let alone at the rate of time

and one-half his regular rate of pay, or $30.00 per hour, for any hour that Plaintiff worked that

week in excess of forty.

        25.     By way of example only, for the weekly pay period of November 4 through

November 10, 2016, when Plaintiff worked a total of sixty-eight hours, Defendants paid Plaintiff

$510.00 based on the ten jobs that he performed that week, and Plaintiff received approximately

$150.00 in cash tips from passengers. Accordingly, Defendants paid Plaintiff a total of $660,

which was meant to cover only his first forty hours of work per week, and which amounts to a



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regular rate of $16.50. Defendants did not pay Plaintiff at any rate, let alone at the rate of time

and one-half his regular rate of pay, or $24.75 per hour, for any hour that Plaintiff worked that

week in excess of forty.

         26.   Defendants paid Plaintiff on a weekly basis.

         27.   On each occasion when they paid Plaintiff, Defendants failed to provide Plaintiff

with a wage statement that accurately listed, inter alia, his actual hours worked for that week, or

his straight and overtime rates of pay for all hours worked.

         28.   Additionally, Defendants did not provide Plaintiff with a wage notice at the time

of his hire that accurately contained, inter alia, Plaintiff’s rates of pay as designated by the

employer.

         29.   Defendants treated Plaintiff and all FLSA Plaintiffs in the manner described

above.

         30.   Defendants acted in the manner described herein so as to maximize their profits

while minimizing their labor costs and overhead.

         31.   Each hour that Plaintiff and FLSA Plaintiffs worked was for Defendants’ benefit.

                  FIRST CLAIM FOR RELIEF AGAINST DEFENDANTS
                            Unpaid Overtime under the FLSA

         32.   Plaintiff and FLSA Plaintiffs repeat, reiterate, and re-allege each and every

allegation set forth above with the same force and effect as if more fully set forth herein.

         33.   29 U.S.C. § 207(a) requires employers to compensate their employees at a rate not

less than one and one-half times their regular rate of pay for all hours worked exceeding forty in

a workweek.

         34.   As described above, Defendants are employers within the meaning of the FLSA

while Plaintiff and FLSA Plaintiffs are employees within the meaning of the FLSA.

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        35.     As also described above, Plaintiff and FLSA Plaintiffs worked in excess of forty

hours per week, yet Defendants failed to compensate Plaintiff and FLSA Plaintiffs in accordance

with the FLSA’s overtime provisions.

        36.     Defendants willfully violated the FLSA.

        37.     Plaintiff and FLSA Plaintiffs are entitled to overtime pay for all hours worked per

week in excess of forty at the rate of one and one-half times their respective regular rates of pay.

        38.     Plaintiff and FLSA Plaintiffs are also entitled to liquidated damages and

attorneys’ fees for Defendants’ violation of the FLSA’s overtime provisions.

                    SECOND CLAIM FOR RELIEF AGAINST DEFENDANTS
                        Unpaid Overtime Under the NYLL and the NYCCRR

        39.     Plaintiff, and any FLSA Plaintiff that opts in to this action, repeat, reiterate, and

re-allege each and every allegation set forth above with the same force and effect as if more fully

set forth herein.

        40.     NYLL § 160 and 12 NYCCRR § 142-2.2 require employers to compensate their

employees at a rate not less than one and one-half times their regular rates of pay for all hours

worked exceeding forty in a workweek.

        41.     As described above, Defendants are employers within the meaning of the NYLL

and the NYCCRR, while Plaintiff, and any FLSA Plaintiff that opts in to this action, are

employees within the meaning of the NYLL and the NYCCRR.

        42.     As also described above, Plaintiff, and any FLSA Plaintiff that opts in to this

action, worked in excess of forty hours in a workweek, yet Defendants failed to compensate

them in accordance with the NYLL’s and the NYCCRR’s overtime provisions.




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        43.     Plaintiff, and any FLSA Plaintiff that opts in to this action, are entitled to their

overtime pay for all hours worked per week in excess of forty at the rate of one and one-half

times their respective regular rates of pay.

        44.     Plaintiff, and any FLSA Plaintiff that opts in to this action, are also entitled to

liquidated damages, interest, and attorneys’ fees for Defendants’ violations of the NYLL’s and

NYCCRR’s overtime provisions.

                    THIRD CLAIM FOR RELIEF AGAINST DEFENDANTS
                        Failure to Distribute Tips in Violation of the NYLL

        45.     Plaintiff, and any FLSA Plaintiff that opts in to this action, repeat, reiterate, and

re-allege each and every allegation set forth above with the same force and effect as if more fully

set forth herein.

        46.     NYLL §196-d requires employers to allow employees to retain all tips received

by the employee, individually, or in a valid tip pooling arrangement limited to employees who

customarily and regularly receive tips.

        47.     As described above, Defendants are employers within the meaning of the NYLL,

while Plaintiff, and any FLSA Plaintiff that opts in to this action is an employee within the

meaning of the NYLL.

        48.     As also described above, Defendants’ customers often charged gratuities by credit

card that were intended for Plaintiff, and any FLSA Plaintiff that opts in to this action, yet

Defendants retained these tips for their own use.

        49.     As a result, Plaintiff, and any FLSA Plaintiff that opts in to this action, are entitled

to recover all gratuities and/or tips that Defendants’ customers left for them but that Defendants

failed to properly distribute.




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        50.     Plaintiff, and any FLSA Plaintiff that opts in to this action, are also entitled to

liquidated damages, interest, and attorneys’ fees for Defendants’ violations of NYLL § 196-d.

                FOURTH CLAIM FOR RELIEF AGAINST DEFENDANTS
               Failure to Furnish Proper Wage Statements in Violation of the NYLL

        51.     Plaintiff, and any FLSA Plaintiff that opts in to this action, repeat, reiterate, and

re-allege each and every allegation set forth above with the same force and effect as if more fully

set forth herein.

        52.     N.Y. Lab. Law § 195(3) requires that employers furnish employees with wage

statements containing accurate, specifically enumerated criteria on each occasion when the

employer pays wages to the employee.

        53.     As described above, Defendants, on each payday, failed to furnish Plaintiff, and

any FLSA Plaintiff that opts in to this action, with accurate wage statements containing the

criteria required under the NYLL.

        54.     Prior to February 27, 2015, pursuant to N.Y. Lab. Law § 198(1-d), Defendants are

liable to Plaintiff, and any FLSA Plaintiff that opts in to this action, in the amount of $100 for

each workweek after the violation occurred, up to a statutory cap of $2,500.

        55.     On or after February 27, 2015, pursuant to NYLL § 198(1-d), Defendants are

liable to Plaintiff, and any FLSA Plaintiff that opts in to this action, in the amount of $250 for

each workday after the violation occurred, up to a statutory cap of $5,000.

                  FIFTH CLAIM OF RELIEF AGAINST DEFENDANTS
                Failure to Furnish Proper Wage Notices in Violation of the NYLL

        56.     Plaintiff, and any FLSA Plaintiff that opts in to this action, repeat, reiterate and

re-allege each and every allegation set forth above with the same force and effect as if more fully

set forth herein.


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        57.      NYLL § 195(1) requires that employers provide employees with a wage notice at

the time of hire containing accurate, specifically enumerated criteria.

        58.      As described above, Defendants failed to furnish Plaintiff, and any FLSA Plaintiff

that opts in to this action, with accurate wage notices at hire containing all of the criteria required

under the NYLL.

        59.      Prior to February 27, 2015, pursuant to NYLL § 198(1-b), Defendants are liable

to Plaintiff, and any FLSA Plaintiff that opts in to this action, in the amount of $50 for each

workweek after the violations initially occurred, up to a statutory cap of $2,500.

        60.      On or after February 27, 2015, pursuant to NYLL § 198(1-b), Defendants are

liable to Plaintiff, and any FLSA Plaintiff that opts in to this action, in the amount of $50 for

each workday after the violations initially occurred, up to a statutory cap of $5,000.

                                DEMAND FOR A JURY TRIAL

        61.      Pursuant to FRCP 38(b), Plaintiff and FLSA Plaintiffs demand a trial by jury in

this action.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff and FLSA Plaintiffs demand judgment against Defendants as

follows:

        a.       A judgment declaring that the practices complained of herein are unlawful and in

willful violation of the aforementioned United States and New York State laws;

        b.       Preliminary and permanent injunctions against Defendants and their officers,

owners, agents, successors, employees, representatives, and any and all persons acting in concert

with them, from engaging in each of the unlawful practices, policies, customs, and usages set

forth herein;



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        c.       An order restraining Defendants from any retaliation against Plaintiff and/or

FLSA Plaintiffs for participation in any form in this litigation;

        d.       Designation of this action as an FLSA collective action on behalf of Plaintiff and

FLSA Plaintiffs and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to the FLSA

Plaintiffs, apprising them of the pendency of this action, permitting them to assert timely FLSA

claims in this action by filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b), and

tolling of the statute of limitations;

        e.       All damages that Plaintiff and FLSA Plaintiffs have sustained as a result of

Defendants’ conduct, including all unpaid wages and any short fall between wages paid and

those due under the law that Plaintiff and FLSA Plaintiffs would have received but for

Defendants’ unlawful payment practices;

        f.       Liquidated damages and any other statutory penalties as recoverable under the

FLSA and NYLL;

        g.       Awarding Plaintiff and FLSA Plaintiffs their costs and disbursements incurred in

connection with this action, including reasonable attorneys’ fees, expert witness fees and other

costs, and an award of a service payment to Plaintiff;

        h.       Designation of Plaintiff and his counsel as collective action representatives under

the FLSA;

        i.       Pre-judgment and post-judgment interest, as provided by law; and




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       j.       Granting Plaintiff and FLSA Plaintiffs other and further relief as this Court finds

necessary and proper.

Dated: New York, New York
       June 28, 2017

                                                     Respectfully submitted,

                                                     BORRELLI & ASSOCIATES, P.L.L.C.
                                                     Attorneys for Plaintiff
                                                     655 Third Avenue, Suite 1821
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                                                     (212) 679-5000


                                              By:
                                                     JEFFREY R. MAGUIRE (JM 1982)
                                                     ALEXANDER T. COLEMAN (AC 1717)
                                                     MICHAEL J. BORRELLI (MB 8533)




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